Case 3:19-cv-01537-BEN-JLB Document 123 Filed 06/21/21 PageID.10722 Page 1 of 1




                       UNITED STATES COURT OF APPEALS                        FILED
                                 FOR THE NINTH CIRCUIT                       JUN 21 2021
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
  JAMES MILLER; et al.,                            No. 21-55608

                   Plaintiffs-Appellees,           D.C. No. 3:19-cv-01537-BEN-JLB
                                                   Southern District of California,
    v.                                             San Diego

  ROB BONTA, in his official capacity as       ORDER
  Attorney General of the State of California;
  LUIS LOPEZ, in his official capacity as
  Director of the Department of Justice Bureau
  of Firearms,

                   Defendants-Appellants.

  Before: SILVERMAN, NGUYEN, and R. NELSON, Circuit Judges.

         The motion by the State of Arizona, et al. (Docket Entry No. 9-1) for leave

  to file an amicus brief in opposition to appellants’ motion for a stay pending appeal

  is granted. The clerk will file the amicus brief (Docket Entry No. 9-2).

         The district court’s June 4, 2021 order and judgment are stayed pending

  resolution of Rupp v. Bonta, No. 19-56004. The stay shall remain in effect until

  further order of this court.

         Briefing in this appeal is stayed.

         Within 14 days of this court’s decision in Rupp v. Bonta, the parties shall file

  a status report and may request appropriate relief.




  LCC/MOATT
